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1A
 101-7-TDR
 /2009
 /2010
 ary
 2 Services
                                                 UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF TEXAS
                                                       FORT WORTH DIVISION


               In Re:                                          §
                                                               §
               Copper Ridge Resources, Llc                     §     Case No. 20-42766
                                                               §
                                   Debtor                      §

                               CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                               REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                               ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                       Marilyn D. Garner, Trustee, chapter 7 trustee, submits this Final Account, Certification
               that the Estate has been Fully Administered and Application to be Discharged.

                       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
               and, if applicable, any order of the Court modifying the Final Report. The case is fully
               administered and all assets and funds which have come under the trustee’s control in this case
               have been properly accounted for as provided by law. The trustee hereby requests to be
               discharged from further duties as a trustee.

                      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
               discharged without payment, and expenses of administration is provided below:


               Assets Abandoned: 622.84                               Assets Exempt: 0.00
               (Without deducting any secured claims)

               Total Distributions to Claimants: 49,160.67            Claims Discharged
                                                                      Without Payment: 18,533,611.17

               Total Expenses of Administration: 33,349.76


                       3) Total gross receipts of $82,510.43 (see Exhibit 1), minus funds paid to the debtor and
               third parties of $0.00 (see Exhibit 2), yielded net receipts of $82,510.43 from the liquidation of
               the property of the estate, which was distributed as follows:




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                                                  CLAIMS            CLAIMS                CLAIMS                 CLAIMS
                                                SCHEDULED          ASSERTED              ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                   $693,761.47         $280,526.83           $280,526.83                $32,844.46

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA           33,349.76              33,349.76                33,349.76

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA                 NA                    NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                             10,634.91             108.04                108.04                   108.04

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                           12,452,039.10       8,705,275.63           8,705,275.63                16,208.17

TOTAL DISBURSEMENTS                              $13,156,435.48      $9,019,260.26          $9,019,260.26               $82,510.43


                 4) This case was originally filed under chapter 7 on 08/31/2020. The case was pending
          for 39 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 11/15/2023                        By:/s/Marilyn D. Garner, Trustee
                                                                               Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                               EXHIBITS TO
                                                             FINAL ACCOUNT


             EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                        $ AMOUNT
                                                                          TRAN. CODE1                                     RECEIVED

Accounts Receivable                                                           1121-000                                        47,080.56

Checking, savings, money market, or financial
brokerage accounts                                                            1129-000                                        20,000.00

Accounts Receivable                                                           1221-000                                           429.87

Adversary Proceeding against Mark Burkett                                     1249-000                                        15,000.00

TOTAL GROSS RECEIPTS                                                                                                         $82,510.43
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                          UNIFORM              $ AMOUNT
                                                                                                    TRAN. CODE               PAID

NA                                                                                                      NA                           NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                       $NA
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM        CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.      SCHEDULED                                                   CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                   CODE      (from Form 6D)

              American Momentum Bank                              693,761.47                   NA                  NA                0.00


18            American Momentum Bank              4110-000                NA           280,526.83            280,526.83        32,844.46




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                                                 UNIFORM        CLAIMS
                                                                                CLAIMS          CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.      SCHEDULED                                         CLAIMS PAID
                                                                               ASSERTED        ALLOWED
                                                  CODE      (from Form 6D)

TOTAL SECURED CLAIMS                                            $693,761.47      $280,526.83     $280,526.83       $32,844.46


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                             CLAIMS            CLAIMS           CLAIMS
               PAYEE                       TRAN.                                                               CLAIMS PAID
                                                           SCHEDULED          ASSERTED         ALLOWED
                                           CODE

Marilyn D. Garner                          2100-000                  NA           7,375.52         7,375.52          7,375.52


Marilyn D. Garner                          2200-000                  NA              47.50            47.50             47.50


Axos Bank                                  2600-000                  NA            776.21           776.21            776.21


Cavazos, Hendricks, Poirot &
Smitham PC                                 3210-000                  NA          24,957.00        24,957.00         24,957.00


Cavazos, Hendricks, Poirot &
Smitham PC                                 3220-000                  NA            193.53           193.53            193.53

TOTAL CHAPTER 7 ADMIN. FEES                                         $NA         $33,349.76       $33,349.76        $33,349.76
AND CHARGES



             EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                             CLAIMS            CLAIMS           CLAIMS
               PAYEE                       TRAN.                                                               CLAIMS PAID
                                                           SCHEDULED          ASSERTED         ALLOWED
                                           CODE

NA: NA                                           NA                  NA               NA               NA                NA

TOTAL PRIOR CHAPTER ADMIN.                                          $NA              $NA              $NA               $NA
FEES AND CHARGES




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            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                             CLAIMS           CLAIMS
                                                UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                     CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                 CODE
                                                                6E)            Claim)

            Internal Revenue Service                           10,634.91                NA          NA                0.00


            TEXAS WORKFORCE
22          COMMISSION                          5800-000            NA              108.04        108.04            108.04

TOTAL PRIORITY UNSECURED                                      $10,634.91           $108.04       $108.04           $108.04
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                             CLAIMS           CLAIMS
                                                UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                     CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                 CODE
                                                                6F)            Claim)

            2505 Partners, LLC                                      0.00                NA          NA                0.00


            4G Well Service                                    77,645.00                NA          NA                0.00


            A&RJ Oilfield Services                              1,000.00                NA          NA                0.00


            ABC Rental Tool Co., Inc.                           5,293.99                NA          NA                0.00


            Acidizing Technology
            Services LLC                                       11,098.00                NA          NA                0.00


            Acquire Oilfield Solutions,                        50,583.00                NA          NA                0.00


            Allison Heavy Haul                                 92,500.00                NA          NA                0.00


            Amber James, Esq.                                       0.00                NA          NA                0.00




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                                                            CLAIMS           CLAIMS
                                                UNIFORM
                                                          SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                   CLAIMS PAID
                                                           (from Form     (from Proofs of   ALLOWED
                                                 CODE
                                                               6F)            Claim)

            American Momentum Bank                            41,347.00                NA         NA              0.00


            American Pump & Supply                             4,352.52                NA         NA              0.00


            Atlas Production Service,
            LLC                                                8,640.00                NA         NA              0.00


            B&R Tools & Services, Inc.                        18,488.00                NA         NA              0.00


            B.O.P Ram-Block & Iron
            Rentals, Inc.                                      9,590.25                NA         NA              0.00


            Basin Well Logging                                 1,000.00                NA         NA              0.00


            BC Rentals                                         3,060.00                NA         NA              0.00


            Big E Services, LLC                                1,000.00                NA         NA              0.00


            Black Gold                                         6,286.00                NA         NA              0.00


            Bo Monk Pipe Testing Co.,
            Inc.                                               5,293.15                NA         NA              0.00


            Bradley, Rice Decker Jones
            PC                                                     0.00                NA         NA              0.00


            Brannco Wireline Services,
            Inc.                                               8,782.14                NA         NA              0.00


            Brockman Consulting, LLC                         165,000.00                NA         NA              0.00


            Bruno Asseray                                          0.00                NA         NA              0.00




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                                                            CLAIMS           CLAIMS
                                                UNIFORM
                                                          SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.              CLAIMANT                  TRAN.                                                   CLAIMS PAID
                                                           (from Form     (from Proofs of   ALLOWED
                                                 CODE
                                                               6F)            Claim)

            Bryan D. Mackay, Atkins,
            Hollmann,                                              0.00                NA         NA              0.00


            Bryant Electric                                    1,000.00                NA         NA              0.00


            Bullseye Drilling Services,
            LLC                                              213,724.00                NA         NA              0.00


            Bustamante Oil Company                                 0.00                NA         NA              0.00


            Capitan Corporation                               27,782.84                NA         NA              0.00


            Carr Energy, LLC                                       0.00                NA         NA              0.00


            Carrasco's Roustabout
            Services, Inc                                     39,454.00                NA         NA              0.00


            Cary White irrigation                                625.00                NA         NA              0.00


            Casey Equipment, LTD                             251,439.57                NA         NA              0.00


            Casey G Raines, Rendall
            Sikes PLLC,                                            0.00                NA         NA              0.00


            Cherry Transport                                     500.00                NA         NA              0.00


            Chief Services                                    38,906.39                NA         NA              0.00


            Clayton S. Hightower                                   0.00                NA         NA              0.00


            Cobalt Operating, LLC                                  0.00                NA         NA              0.00


            Coretech                                          12,000.00                NA         NA              0.00




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                                                            CLAIMS           CLAIMS
                                                UNIFORM
                                                          SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.              CLAIMANT                  TRAN.                                                   CLAIMS PAID
                                                           (from Form     (from Proofs of   ALLOWED
                                                 CODE
                                                               6F)            Claim)

            Corrosion Ltd.                                    12,907.94                NA         NA              0.00


            Cowboy Spooling                                    1,000.00                NA         NA              0.00


            Crady Jewett McCulley &
            Houren LLP                                             0.00                NA         NA              0.00


            Crosstex Services, LLC                                 0.00                NA         NA              0.00


            Derek Cook                                             0.00                NA         NA              0.00


            DGE Rentals                                        8,930.63                NA         NA              0.00


            Diamond D. Slickline                               6,000.00                NA         NA              0.00


            Dirt Road Outlaws                                  1,285.74                NA         NA              0.00


            Don-Nan Pump & Supply                              9,071.19                NA         NA              0.00


            Eagle Completions                                633,331.02                NA         NA              0.00


            Eagle Completions, USA                           827,631.02                NA         NA              0.00


            Eagle Containers                                   7,590.00                NA         NA              0.00


            Elite Well Services, LLC                           6,309.09                NA         NA              0.00


            Empire Services, LLC                               1,854.35                NA         NA              0.00


            Energy Fishing & Rental
            Services                                         546,438.49                NA         NA              0.00


            Flying A Pumping Service                           4,615.00                NA         NA              0.00




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                                                            CLAIMS           CLAIMS
                                                UNIFORM
                                                          SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                   CLAIMS PAID
                                                           (from Form     (from Proofs of   ALLOWED
                                                 CODE
                                                               6F)            Claim)

            Fox Edge Kuykendall, PLLC                              0.00                NA         NA              0.00


            Frac Tank Rental                                  31,661.00                NA         NA              0.00


            FS Trucking                                       52,116.23                NA         NA              0.00


            G&L Supply                                         5,511.73                NA         NA              0.00


            Gandy Marley                                         553.91                NA         NA              0.00


            Graco Oilfield Services                          163,077.04                NA         NA              0.00


            Graphite Resources, LLC                                0.00                NA         NA              0.00


            GS Logs                                            2,420.00                NA         NA              0.00


            Gwen L. Walraven                                       0.00                NA         NA              0.00


            Halite Properties, LLC                                 0.00                NA         NA              0.00


            Harrison Lease Acquisition &
            Develpment                                             0.00                NA         NA              0.00


            Holland & Hart, LLP                               18,000.00                NA         NA              0.00


            Holy Hamm                                              0.00                NA         NA              0.00


            Hoppes Construction, LLC                         185,966.08                NA         NA              0.00


            Hunter Parish, Dawson
            Parrish                                                0.00                NA         NA              0.00


            Integrated Cement & Acid                          60,222.91                NA         NA              0.00




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                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                   CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            IPFS Corporation                                    1,385.90                NA         NA              0.00


            J.A.CH. Roustabout                                  1,000.00                NA         NA              0.00


            Jade Services, Inc.                                41,246.69                NA         NA              0.00


            James A. Collura                                        0.00                NA         NA              0.00


            James C. Scott                                          0.00                NA         NA              0.00


            Jason B Hamm, Hamm French
            PLLC,                                                   0.00                NA         NA              0.00


            JC Sandblasting & Painting                          1,024.53                NA         NA              0.00


            Johnny Martinez                                         0.00                NA         NA              0.00


            Jon M. Payne                                            0.00                NA         NA              0.00


            Justin Foster                                           0.00                NA         NA              0.00


            Kenton McDonald, Esq.                                   0.00                NA         NA              0.00


            Klear Bit Technologies                             15,449.44                NA         NA              0.00


            KLX Energy Services                               461,334.36                NA         NA              0.00


            Lea County Packer Sales                            15,771.47                NA         NA              0.00


            Lucky Rental Tool                                  23,728.45                NA         NA              0.00


            Lynch, Chappell & Alsup PC                              0.00                NA         NA              0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                    CLAIMS PAID
                                                            (from Form      (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)             Claim)

            Mark Burkett                                             0.00                NA         NA              0.00


            Matthew French                                           0.00                NA         NA              0.00


            Mesa Well Service, LP                             610,303.00                 NA         NA              0.00


            Michael Kelly                                            0.00                NA         NA              0.00


            Michael T. Morgan                                        0.00                NA         NA              0.00


            MS Directional LLC                               1,208,966.00                NA         NA              0.00


            Murray Crutcher III                                      0.00                NA         NA              0.00


            Mustang Construction                               12,519.17                 NA         NA              0.00


            Mustang Well Service, LLC                         117,933.00                 NA         NA              0.00


            National Fuel and Lubricants                      172,792.00                 NA         NA              0.00


            OMI, LP                                           378,517.00                 NA         NA              0.00


            Osborn, Marsland & Hargrove                        11,127.00                 NA         NA              0.00


            Pason Systems                                      42,329.32                 NA         NA              0.00


            Performance Chemical                                  700.00                 NA         NA              0.00


            Permian Power Tongs                                34,250.00                 NA         NA              0.00


            Platinum Pipe Rentals                             307,323.58                 NA         NA              0.00




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                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                   CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            Pradon Construction &
            Trucking                                            4,800.00                NA         NA              0.00


            Premium Fising Services                            88,239.89                NA         NA              0.00


            Pride Energy Services                                 335.00                NA         NA              0.00


            Pro Mainland Safety                                12,000.00                NA         NA              0.00


            Pro Oil & Gas Services, LLC                       104,604.63                NA         NA              0.00


            R. Louis Bratton                                        0.00                NA         NA              0.00


            Ramrod Trucking                                     2,124.00                NA         NA              0.00


            Randyl Meigs                                            0.00                NA         NA              0.00


            Randyl Meigs McDonald
            Sanders,                                                0.00                NA         NA              0.00


            Ready Drill LLC                                     9,500.00                NA         NA              0.00


            Renegade Services                                  36,582.68                NA         NA              0.00


            RFC Drilling, LLC                                 904,246.00                NA         NA              0.00


            Rick Strange, Esq.                                      0.00                NA         NA              0.00


            Robert Blackwell                                        0.00                NA         NA              0.00


            Ronald Hougton                                          0.00                NA         NA              0.00


            Rose Equipment Company                             47,366.43                NA         NA              0.00




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                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                   CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            Rotary Wire Line Service,
            Inc..                                               4,759.57                NA         NA              0.00


            RWLS LLC                                           10,469.50                NA         NA              0.00


            S&S Fishing & Rental                                3,344.93                NA         NA              0.00


            Scott D. Ellis                                          0.00                NA         NA              0.00


            Sean Guerrero                                           0.00                NA         NA              0.00


            Stealth Oilwell Services                            4,227.00                NA         NA              0.00


            T&T Pipe Supply                                       158.38                NA         NA              0.00


            TCI - Casing Specialities,
            LLC                                                 1,623.75                NA         NA              0.00


            TCI Business Capital                               56,093.00                NA         NA              0.00


            Texas Pride Fuels                                  75,067.00                NA         NA              0.00


            Total Rig Tools                                     5,214.24                NA         NA              0.00


            T-P Rentals                                        50,117.78                NA         NA              0.00


            Transtex Cementing Services,
            LLC                                                39,556.00                NA         NA              0.00


            Trey Trucks, LTD                                   11,091.94                NA         NA              0.00


            Triple S. Trucking                                 65,000.00                NA         NA              0.00




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                                                             CLAIMS           CLAIMS
                                                 UNIFORM
                                                           SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                   CLAIMS PAID
                                                            (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                6F)            Claim)

            Tri-State Oilfield Servives                       154,828.00                NA         NA              0.00


            TRM, LLC                                            1,827.50                NA         NA              0.00


            Tucker Construction                                 6,402.99                NA         NA              0.00


            Tyson Gobble                                            0.00                NA         NA              0.00


            Unicorn Oilfield Services,
            LLC                                                   589.88                NA         NA              0.00


            United Shutdown & Safety                            9,943.83                NA         NA              0.00


            Varel International                                53,763.84                NA         NA              0.00


            VES Survey International                           58,902.00                NA         NA              0.00


            W. Energy Partners, LLC                                 0.00                NA         NA              0.00


            Wilbanks Trucking Services,
            LLC                                                83,000.00                NA         NA              0.00


            Wildcat Services, LLC                              56,070.00                NA         NA              0.00


            Will Rutledge                                           0.00                NA         NA              0.00


            William Sudela                                          0.00                NA         NA              0.00


            Yellowjack Oilfield Services                      130,984.02                NA         NA              0.00


            Yesco HVL, LLC                                          0.00                NA         NA              0.00


            Zircon Properties, LLC                                  0.00                NA         NA              0.00




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                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                        CLAIMS PAID
                                                             (from Form      (from Proofs of   ALLOWED
                                                  CODE
                                                                 6F)             Claim)

8           4G Well Service                      7100-000         2,457.30        218,179.97     218,179.97           415.96


18          American Momentum Bank               7100-000             NA          450,629.51     450,629.51           859.12


52          Aztec Well Servicing Co.             7100-000     1,054,993.96        867,381.13     867,381.13         1,653.66


53          Aztec Well Servicing Co.             7100-000             0.00        755,697.54     755,697.54         1,440.73


48          Carr Energy, Llc                     7100-000             NA           53,715.81      53,715.81             0.00


            Energy Fishing & Rental
19          Services, Inc.                       7100-000             NA          656,764.36     656,764.36         1,252.12


            Harrison Lease Acquisition &
46          Development Corp.                    7100-000             NA          239,942.10     239,942.10           457.45


44          Mesa Well Servicing, Lp              7100-000             NA          783,251.75     783,251.75         1,493.27


13          Ms Directional, Llc                  7100-000             NA        1,208,966.19    1,208,966.19        2,304.89


54          Platinum Pipe Rentals, Llc           7100-000             NA          424,183.41     424,183.41           808.70


            Trans Tex Cementing
24          Services, Llc                        7100-000             NA           39,555.77      39,555.77             0.00


7           Wellbore Fishing & Rental            7100-000      353,002.00         353,001.95     353,001.95           673.00


21          Wildcat Oil Tools Llc                7100-000     1,110,000.00        615,192.32     615,192.32         1,172.86


            Acquire Oilfield Solutions,
14          Llc                                  7100-001             NA           50,582.52      50,582.52            96.44


3           Axl Energy, Inc.                     7100-001             NA            1,998.76        1,998.76            3.81




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                                                                CLAIMS           CLAIMS
                                                   UNIFORM
                                                              SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.               CLAIMANT                    TRAN.                                                      CLAIMS PAID
                                                               (from Form     (from Proofs of   ALLOWED
                                                    CODE
                                                                   6F)            Claim)

15            B & R Tools & Service, Inc.          7100-001            NA           18,487.70      18,487.70           35.25


30            Capitan Corporation                  7100-001            NA           76,069.06      76,069.06          145.03


41            Carr Energy, Llc                     7100-001            NA           53,715.81      53,715.81          102.41


56            Chocks, Inc.                         7100-001      114,728.00         94,658.70      94,658.70          180.48


43            Copper Ridge Resources, Llc          7100-001            NA           58,902.00      58,902.00          112.30


              Core Tech Wireline Services
33            Llc                                  7100-001            NA           42,209.00      42,209.00           80.47


39            Corrosion Ltd.                       7100-001            NA           12,907.94      12,907.94           24.61


28            Dirt Road Outlaws                    7100-001            NA            1,285.74       1,285.74            2.45


10-2          Ebj Trucking, Inc.                   7100-001            NA           70,307.69      70,307.69          134.04


5             Frac Tank Rentals, Llc               7100-001            NA           31,660.59      31,660.59           60.36


29            Greak Law, P.C.                      7100-001            NA           23,026.67      23,026.67           43.90


45            Gyrodata Incorporated                7100-001       35,157.70         43,214.78      43,214.78           82.39


32            Hoppes Construction, Llc             7100-001            NA          181,243.36     181,243.36          345.54


4             Horizon Mud Co., Inc.                7100-001       91,444.00        111,203.62     111,203.62          212.01


35            Ipfs Corporation                     7100-001            NA            1,385.90       1,385.90            2.64


47            Klear Bit Technologies, Llc          7100-001            NA           89,043.92      89,043.92          169.76




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                                                              CLAIMS           CLAIMS
                                                 UNIFORM
                                                            SCHEDULED         ASSERTED         CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                      CLAIMS PAID
                                                             (from Form     (from Proofs of   ALLOWED
                                                  CODE
                                                                 6F)            Claim)

31          Kuda Kutrite, Inc.                   7100-001        3,664.96          3,824.34       3,824.34            7.29


34          Lone Star Rental                     7100-001       33,102.85         33,102.85      33,102.85           63.11


            Longhorn Machine Shop &
16          Automation, Llc                      7100-001       11,980.00         14,735.00      14,735.00           28.09


50          Mustang Construction                 7100-001            NA           24,649.00      24,649.00           46.99


            National Fuel And Lubricants,
1           Inc.                                 7100-001            NA          172,791.61     172,791.61          329.43


42          Osborn & Bennett Llp                 7100-001            NA           14,457.75      14,457.75           27.56


            Premium Oilfield Services,
36          Llc                                  7100-001       88,240.00        136,015.59     136,015.59          259.31


23          Professional Mainland Safety, 7100-001                   NA           17,430.39      17,430.39           33.23


55          Ready Drill, Llc                     7100-001            NA            9,500.00       9,500.00           18.11


9           Rig Power                            7100-001       14,406.45          9,201.26       9,201.26           17.54


11          Rig Power, Inc.                      7100-001            NA           53,851.62      53,851.62          102.67


            Rwls, Llc Dba Renegade
25          Services                             7100-001            NA           36,582.68      36,582.68           69.74


26          S&S Fishing And Rental Inc           7100-001            NA            3,344.93       3,344.93            6.38


2           Stealth Oilwell Services, Llc        7100-001            NA            4,227.33       4,227.33            8.06




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                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                        CLAIMS PAID
                                                             (from Form      (from Proofs of   ALLOWED
                                                  CODE
                                                                 6F)             Claim)

            Stingray Cementing &
49          Acidizing                            7100-001        26,451.00         12,715.80      12,715.80            24.24


20          Taurex Drill Bits, Llc               7100-001        38,644.00         38,643.51      38,643.51            73.67


            Transtex Cementing Services,
6           Llc                                  7100-001             NA           39,555.77      39,555.77            75.41


51          Triple S Trucking Co., Inc.          7100-001             NA           92,414.30      92,414.30           176.19


            Universal Pressure Pumping,
12          Inc.                                 7100-001             NA           22,578.05      22,578.05            43.04


17          Valence Drilling Fluids, Lp          7100-001        34,153.36         81,235.43      81,235.43           154.88


40          Vaughn Energy Services, Inc.         7100-001      143,767.00         143,766.74     143,766.74           274.09


27          Warrior Technologies                 7100-001         3,525.61          1,830.61        1,830.61            3.49


            Carrasco''s Roustabout
58          Services, Inc.                       7200-000             NA           48,028.50      48,028.50             0.00


59          Gyro Technologies, Inc.              7200-000        58,902.00         58,902.00      58,902.00             0.00


            Performance Chemical
57          Company                              7200-000             NA            3,525.00        3,525.00            0.00

TOTAL GENERAL UNSECURED                                     $12,452,039.10     $8,705,275.63   $8,705,275.63      $16,208.17
CLAIMS




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                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                      ASSET CASES
                                                                                                                                                                                                          Exhibit 8
Case No:             20-42766                         MXM            Judge:        MARK X. MULLIN                              Trustee Name:                       Marilyn D. Garner, Trustee
Case Name:           Copper Ridge Resources, Llc                                                                               Date Filed (f) or Converted (c):    08/31/2020 (f)
                                                                                                                               341(a) Meeting Date:                10/14/2020
For Period Ending:   11/15/2023                                                                                                Claims Bar Date:                    10/25/2021


                                  1                                               2                            3                            4                           5                             6

                         Asset Description                                      Petition/                Est Net Value              Property Formally               Sale/Funds                    Asset Fully
             (Scheduled and Unscheduled (u) Property)                         Unscheduled            (Value Determined by              Abandoned                    Received by               Administered (FA)/
                                                                                Values                Trustee, Less Liens,             OA=554(a)                     the Estate            Gross Value of Remaining
                                                                                                          Exemptions,                                                                               Assets
                                                                                                        and Other Costs)

  1. Checking, savings, money market, or financial brokerage                          219,735.00                   20,000.00                                                20,000.00                           FA
     accounts

     American Momentum Bank f/k/a/ Security Bank - Checking
     account7281
     Pursuant to the Agreed Order granting American Momentum
     Bank's Motion for Entry of an Order for Relief from Automatic
     Stay (Doc #62) Entered August 10, 2021
  2. Checking, savings, money market, or financial brokerage                                173.91                   173.91                                                         0.00                        FA
     accounts

     American Momentum Bank f/k/a/ Security Bank - Checking
     account0161
  3. Checking, savings, money market, or financial brokerage                                 85.93                    85.93                                                         0.00                        FA
     accounts

     First Capital Checking account 4252
  4. Checking, savings, money market, or financial brokerage                                263.00                   263.00                                                         0.00                        FA
     accounts

     American Momentum Bank f/k/a/ Security Bank - Checking
     account2593
  5. Accounts Receivable                                                               66,594.00                   66,594.00                                                47,510.43                           FA

     over 90 days old
  6. Internet domain names and websites                                                     100.00                   100.00                                                         0.00                        FA

     copperidgeresources.com
  7. Aztec Well Servicing Co., vs. Copper Ridge Resources, LLC                         Unknown                          0.00                                                        0.00                        FA

     Causes of action against third parties (whether or not a
     lawsuit has been filed)
     Counterclaim
     Amount Requested: $1,130,000.00




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                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
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                                                                                                                                                                                                    Exhibit 8
Case No:             20-42766                         MXM          Judge:        MARK X. MULLIN                          Trustee Name:                       Marilyn D. Garner, Trustee
Case Name:           Copper Ridge Resources, Llc                                                                         Date Filed (f) or Converted (c):    08/31/2020 (f)
                                                                                                                         341(a) Meeting Date:                10/14/2020
For Period Ending:   11/15/2023                                                                                          Claims Bar Date:                    10/25/2021


                                  1                                             2                        3                            4                           5                             6

                         Asset Description                                    Petition/            Est Net Value              Property Formally               Sale/Funds                    Asset Fully
             (Scheduled and Unscheduled (u) Property)                       Unscheduled        (Value Determined by              Abandoned                    Received by               Administered (FA)/
                                                                              Values            Trustee, Less Liens,             OA=554(a)                     the Estate            Gross Value of Remaining
                                                                                                    Exemptions,                                                                               Assets
                                                                                                  and Other Costs)

  8. Bullseye Drilling Serices vs. Copper Ridge Resources, LLC                       Unknown                      0.00                                                        0.00                        FA

     Causes of action against third parties (whether or not a
     lawsuit has been filed)
     Counterclaim
     Amount Requested: $1,000,000.00
  9. Mesa Well Service vs. Copper Ridge Resources, LLC                               Unknown                      0.00                                                        0.00                        FA

     Causes of action against third parties (whether or not a
     lawsuit has been filed)
     Counterclaim
     Amount Requested: $720,000.00
 10. MS Directional, LLC vs. Copper Ridge Resources, LLC                             Unknown                      0.00                                                        0.00                        FA

     Causes of action against third parties (whether or not a
     lawsuit has been filed)
     Counterclaim
     Amount Requested: $720,000.00
 11. OMI, LP d/b/a Oilfield Materials Management Co. vs. Copper                      Unknown                      0.00                                                        0.00                        FA
     Ridge Resources, LLC

     Causes of action against third parties (whether or not a
     lawsuit has been filed)
     Counterclaim

 12. RFC Drilling, LLC vs. Copper Ridge Resources, LLC                               Unknown                      0.00                                                        0.00                        FA

     Causes of action against third parties (whether or not a
     lawsuit has been filed)
     Copper Ridge fired RFC due to insubordination by RFC
     hands, drinking on job, pumping oil onto the ground, having
     children on location, OSHA violations, wreaklessness,
     sleeping on job, damaging pipe, etc.
     Counterclaim
     Amount Requested: $968,000.00




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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
                                                                                                                                                                                                          Exhibit 8
Case No:              20-42766                          MXM             Judge:        MARK X. MULLIN                           Trustee Name:                       Marilyn D. Garner, Trustee
Case Name:            Copper Ridge Resources, Llc                                                                              Date Filed (f) or Converted (c):    08/31/2020 (f)
                                                                                                                               341(a) Meeting Date:                10/14/2020
For Period Ending:    11/15/2023                                                                                               Claims Bar Date:                    10/25/2021


                                   1                                                 2                         3                            4                           5                             6

                         Asset Description                                         Petition/             Est Net Value              Property Formally               Sale/Funds                    Asset Fully
             (Scheduled and Unscheduled (u) Property)                            Unscheduled         (Value Determined by              Abandoned                    Received by               Administered (FA)/
                                                                                   Values             Trustee, Less Liens,             OA=554(a)                     the Estate            Gross Value of Remaining
                                                                                                          Exemptions,                                                                               Assets
                                                                                                        and Other Costs)

 13. Wellbore Fishing & Rental vs. Copper Ridge Resources, LLC                            Unknown                       0.00                                                        0.00                        FA

     Causes of action against third parties (whether or not a
     lawsuit has been filed)
     All windows had to be redrilled due to size and placement.
     Prices were not agreed to. Invoiced and filled a lien for Butler
     A well which they never worked on
     counter claim
     Amount requested $1,000,000.00
 14. Aztec Well Servicing Co. vs. Copper Ridge Resources, LLC                             Unknown                       0.00                                                        0.00                        FA

     Causes of action against third parties (whether or not a
     lawsuit has been filed)
     Copper Ridge had disputes regarding certain charges with
     Aztec's services, including unnecessary down time and
     damage to the drill string. Aztec tortiously interfered with
     Copper Ridge's business with an intense defamation
     campaign causing grave harm to Copper Ridge.
     Counterclaim
     Amount requested $1,130,000.00
 15. Wildcat Oil Tools, LLC vs. Copper Ridge Resources, LLC                               Unknown                       0.00                                                        0.00                        FA

     Causes of action against third parties (whether or not a
     lawsuit has been filed)
     Had 2 whipstock failures, 3rd whipstick set 400' too high, had
     to redrill 400' of hole. Agreed to adjustments twice, but then
     reneged on both agreements.
     Counterclaim
     Amount requested $1,110,000.00
 16. Adversary Proceeding against Mark Burkett (u)                                       69,300.00                 69,300.00                                                15,000.00                           FA

     Individually and in his capacity as
     the sole manager of INCLINE ENGINEERING AND
     CONSULTING LLC; CROSSTEX SERVICES, LLC; and
     HALITE PROPERTIES, LLC
INT. Post-Petition Interest Deposits (u)                                                  Unknown                       N/A                                                         0.00                        FA




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                                                                             Document    Page 22 of 41                                               Gross Value of Remaining Assets
TOTALS (Excluding Unknown Values)                                                   $356,251.84                $156,516.84                     $82,510.43                       $0.00
                                                                                                                                                                           Exhibit
                                                                                                                                                     (Total Dollar Amount in        8
                                                                                                                                                                             Column 6)


Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

Trustee has closed bank account and is ready to prepare Trustee's Distribution Report to send to the UST office.




Initial Projected Date of Final Report (TFR): 12/31/2021            Current Projected Date of Final Report (TFR): 12/31/2023




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                    Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   04/07/21             5         Carr Energy                               Accounts Receivable                                   1121-000                $24,432.76                                 $24,432.76
                                  PO Box 202                                outstanding indebtedness owed
                                  Snyder, Texas 79550                       to the estate
   04/08/21             5         David Petroleum                           Accounts Receivable                                   1121-000                     $564.00                               $24,996.76
                                  116 West First Street
                                  Roswell, NM 88203
   04/13/21             5         Martha Leonard - University B Well        Accounts Receivable                                   1121-000                  $7,234.65                                $32,231.41
                                  P.O. Box 2605
                                  Fort Worth, Texas 76113
   04/13/21             5         Mary Leonard                              Accounts Receivable                                   1121-000                  $7,234.65                                $39,466.06
                                  P.O. Box 2605
                                  Fort Worth, Texas 76113
   04/13/21             5         Miranda Leonard - University B Well       Accounts Receivable                                   1121-000                  $7,234.65                                $46,700.71
                                  P.O. Box 2605
                                  Fort Worth, Texas 76113
   05/03/21                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                           $36.90          $46,663.81
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/01/21                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                           $51.52          $46,612.29
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/01/21                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                           $49.80          $46,562.49
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/02/21                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                           $51.41          $46,511.08
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/01/21                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                           $51.36          $46,459.72
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/21/21             1         American Momentum Bank                    Agreed Order                                          1129-000                $20,000.00                                 $66,459.72
                                  c/o Arthur Hobbs                          Pursuant to the Agreed Order
                                  Executive Vice President                  granting American Momentum
                                  600 N. Marienfeld, Ste. 200               Bank's Motion for Entry of an
                                  Midland, TX 79701                         Order for Relief from Automatic
                                                                            Stay (Doc #62) Entered August
                                                                            10, 2021.



                                                                                   Page Subtotals:                                                        $66,700.71                $240.99
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                    Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   10/01/21                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                           $57.48          $66,402.24
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/01/21                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                           $73.32          $66,328.92
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/30/21             5         Gereon Fredrickson                        Payment on receivable due                             1121-000                     $379.85                               $66,708.77
                                  576 Oak Hill Lane                         Check Rec'd from Cavazos
                                  Castle Rock, CO 80108-9498                Hendricks Poirot, P.C. while out
                                                                            of office for Thanksgiving and
                                                                            was deposited first day back in
                                                                            office.
   12/01/21                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                           $70.90          $66,637.87
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/03/22                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                           $73.58          $66,564.29
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/01/22                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                           $73.50          $66,490.79
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/09/22             5         Harvard Energy Partners, L.P.             Payment on Account                                    1221-000                     $429.87                               $66,920.66
                                  Merril Lynch Working Capital              Receivable due
                                  200 E 2nd
                                  Roswell, NM 88202-0936
   02/16/22           2001        American Momentum Bank                    lien claim on receivable funds                        4110-000                                      $32,844.46           $34,076.20
                                  F-K-A Security Bank                       per Agreed Order
                                  600 N. Marienfeld, Ste 200                payment on secure claim [18-1]
                                  Midland, Texas 79701                      pursuant to Order granting
                                                                            Trustee's Motion for authority to
                                                                            pay American Momentum Bank
                                                                            [doc 67]
   03/01/22                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                           $60.77          $34,015.43
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/01/22                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                           $37.56          $33,977.87
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)


                                                                                   Page Subtotals:                                                             $809.72          $33,291.57
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                  Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                  6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   04/04/22           2002        Cavazos, Hendricks, Poirot & Smitham      ATTORNEY FEES                                         3210-000                                     $7,500.00           $26,477.87
                                  PC                                        pursuant to Order Allowing First
                                  900 Jackson Street, Suite 570             Interim Application for
                                  Dallas TX 75202                           Compensation of Attorney for
                                                                            Trustee entered 04/01/22 [doc
                                                                            76]
   04/04/22           2003        Cavazos, Hendricks, Poirot & Smitham      ATTORNEY EXPENSES                                     3220-000                                        $193.53          $26,284.34
                                  PC                                        pursuant to Order Allowing First
                                  900 Jackson Street, Suite 570             Interim Application for
                                  Dallas TX 75202                           Compensation of Attorney for
                                                                            Trustee entered 04/01/22 [doc
                                                                            76]
   05/02/22                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                         $31.10          $26,253.24
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/01/22                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                         $28.99          $26,224.25
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/01/22                       Axos Bank                                 Bank Service Fee under 11                             2600-000                                         $28.02          $26,196.23
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/07/22            16         Cavazos Hendricks Poirot, P.C. - IOLTA    Burkett Settlement Funds                              1249-000                $15,000.00                               $41,196.23
                                  Trust Account                             Firm's Trust Check
                                  900 Jackson, Suite 570                    representing the settlement
                                  Dallas, TX 75202                          funds from Mark Burkett per the
                                                                            Settlement Agreement.
   08/24/22           2004        Cavazos, Hendricks, Poirot & Smitham      Final payment of Attorney Fees                        3210-000                                    $17,457.00           $23,739.23
                                  PC
                                  900 Jackson Street, Suite 570             pursuant to Order Granting
                                  Dallas TX 75202                           Motion to Pay Previously-
                                                                            Awarded Fees entered
                                                                            08/23/22 [doc 90].
   11/17/22           2005        Marilyn D. Garner                         Trustee Fees                                          2100-000                                     $7,375.52           $16,363.71
                                  LAW OFFICES OF MARILYN D.                 pursuant to Order Approving
                                  GARNER                                    Trustee Application for
                                  2001 E. LAMAR BLVD., SUITE 200            Compensation and Expenses
                                  ARLINGTON, TX 76006                       Entered 11/17/2022 [doc97].




                                                                                   Page Subtotals:                                                        $15,000.00          $32,614.16
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                    Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)     Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   11/17/22           2006        Marilyn D. Garner                         Trustee Expense                                       2200-000                                          $47.50           $16,316.21
                                  LAW OFFICES OF MARILYN D.                 Reimbursement
                                  GARNER                                    pursuant to Order Approving
                                  2001 E. LAMAR BLVD., SUITE 200            Trustee Application for
                                  ARLINGTON, TX 76006                       Compensation and Expenses
                                                                            Entered 11/17/2022 [doc97].
   11/28/22           2010        Clerk, U.S. Bankruptcy Court              Remit to Court Reversal                                                                                ($12.24)          $16,328.45
                                                                            Voided to Create Outgoing
                                                                            ACH Wire to Court
                                  Axl Energy, Inc.                          Final distribution to claim 3                $3.76    7100-000
                                                                            creditor account # representing
                                                                            a payment of 0.19 % per court
                                                                            order.
                                  Warrior Technologies                      Final distribution to claim 27               $3.45    7100-000
                                                                            creditor account # representing
                                                                            a payment of 0.19 % per court
                                                                            order.
                                  Dirt Road Outlaws                         Final distribution to claim 28               $2.42    7100-000
                                                                            creditor account # representing
                                                                            a payment of 0.19 % per court
                                                                            order.
                                  Ipfs Corporation                          Final distribution to claim 35               $2.61    7100-000
                                                                            creditor account # representing
                                                                            a payment of 0.19 % per court
                                                                            order.
   11/28/22           2007        TEXAS WORKFORCE COMMISSION                Final distribution to claim 22                        5800-000                                         $108.04           $16,220.41
                                                                            creditor account # representing
                                  Regulatory Integrity Division - SAU       a payment of 100.00 % per
                                  101 E 15th St Room 556                    court order.
                                  Austin, TX 78778-0001
   11/28/22           2008        National Fuel And Lubricants, Inc.        Final distribution to claim 1                         7100-000                                         $325.22           $15,895.19
                                  R. Louis Bratton                          creditor account # representing
                                  The Bratton Firm, P.C.                    a payment of 0.19 % per court
                                  1100 B Guadalupe                          order.
                                  Austin, Tx 78701-7870
   11/28/22           2009        Stealth Oilwell Services, Llc             Final distribution to claim 2                         7100-000                                           $7.96           $15,887.23
                                  PO Box 69063                              creditor account # representing
                                  Odessa, TX 79769                          a payment of 0.19 % per court
                                                                            order.


                                                                                   Page Subtotals:                                                              $0.00              $476.48
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                   Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   11/28/22           2010        Clerk, U.S. Bankruptcy Court              Remit to Court                                                                                          $12.24          $15,874.99

                                  Axl Energy, Inc.                          Final distribution to claim 3              ($3.76)    7100-001
                                                                            creditor account # representing
                                                                            a payment of 0.19 % per court
                                                                            order.
                                  Warrior Technologies                      Final distribution to claim 27             ($3.45)    7100-001
                                                                            creditor account # representing
                                                                            a payment of 0.19 % per court
                                                                            order.
                                  Dirt Road Outlaws                         Final distribution to claim 28             ($2.42)    7100-001
                                                                            creditor account # representing
                                                                            a payment of 0.19 % per court
                                                                            order.
                                  Ipfs Corporation                          Final distribution to claim 35             ($2.61)    7100-001
                                                                            creditor account # representing
                                                                            a payment of 0.19 % per court
                                                                            order.
   11/28/22           2011        Horizon Mud Co., Inc.                     Final distribution to claim 4                         7100-000                                         $209.30          $15,665.69
                                  Co Bell Nunnally & Martin Llp             creditor account # representing
                                  2323 Ross Avenue, Suite 1900              a payment of 0.19 % per court
                                  Dallas, Texas 75201                       order.
   11/28/22           2012        Frac Tank Rentals, Llc                    Final distribution to claim 5                         7100-000                                          $59.59          $15,606.10
                                  550 W. Texas Ave.                         creditor account # representing
                                  Suite No.800                              a payment of 0.19 % per court
                                  Stubbeman, Mcrae, Sealy, Laughlin &       order.
                                  Browder, Inc.,
                                  Midland, Tx 79701-7970
   11/28/22           2013        Transtex Cementing Services, Llc          Final distribution to claim 6                         7100-000                                          $74.45          $15,531.65
                                  Attn: Michael T. Morgan                   creditor account # representing
                                  400 W. Illinois, Suite 120                a payment of 0.19 % per court
                                  Midland, Texas 79710                      order.
   11/28/22           2014        Wellbore Fishing & Rental                 Final distribution to claim 7                         7100-000                                         $664.41          $14,867.24
                                  9868 East Main Street                     creditor account # representing
                                  Houma, La 70363                           a payment of 0.19 % per court
                                                                            order.




                                                                                   Page Subtotals:                                                              $0.00           $1,019.99
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                   Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   11/28/22           2015        4G Well Service                           Final distribution to claim 8                         7100-000                                         $410.65          $14,456.59
                                  4926 North Breanna Street                 creditor account # representing
                                  Hobbs, Nm 88242                           a payment of 0.19 % per court
                                                                            order.
   11/28/22           2016        Rig Power                                 Final distribution to claim 9                         7100-000                                          $17.32          $14,439.27
                                  2924 Greenlee Park Trail                  creditor account # representing
                                  Weatherford, Texas 76088                  a payment of 0.19 % per court
                                                                            order.
   11/28/22           2017        Ebj Trucking, Inc.                        Final distribution to claim 10                        7100-000                                         $132.33          $14,306.94
                                  Co Michael Uryasz                         creditor account # representing
                                  8008 Slide Road, Suite 30                 a payment of 0.19 % per court
                                  Lubbock, Texas 79424                      order.
                                                                            *stop payment due to creditor
                                                                            getting two of the same checks.
                                                                            Only one claim #10 is valid for
                                                                            payment
   11/28/22           2018        Ebj Trucking, Inc.                        Final distribution to claim 10                        7100-000                                         $132.33          $14,174.61
                                  Co Michael Uryasz                         creditor account # representing
                                  8008 Slide Road, Suite 30                 a payment of 0.19 % per court
                                  Lubbock, Texas 79424                      order.
   11/28/22           2019        Rig Power, Inc.                           Final distribution to claim 11                        7100-000                                         $101.36          $14,073.25
                                  6200 Fm 307                               creditor account # representing
                                  Midland, Tx 79706                         a payment of 0.19 % per court
                                                                            order.
   11/28/22           2020        Universal Pressure Pumping, Inc.          Final distribution to claim 12                        7100-000                                          $42.50          $14,030.75
                                  Co William R. Sudela                      creditor account # representing
                                  Crady Jewett Mcculley & Houren Llp        a payment of 0.19 % per court
                                  2727 Allen Parkway, Suite 1700            order.
                                  Houston, Texas 77019-2125
   11/28/22           2021        Ms Directional, Llc                       Final distribution to claim 13                        7100-000                                      $2,275.48           $11,755.27
                                  Co William R. Sudela                      creditor account # representing
                                  Crady Jewett Mcculley & Houren Llp        a payment of 0.19 % per court
                                  2727 Allen Parkway, Suite 1700            order.
                                  Houston, Texas 77019-2125
   11/28/22           2022        Acquire Oilfield Solutions, Llc           Final distribution to claim 14                        7100-000                                          $95.21          $11,660.06
                                  Co The James Firm, Pllc                   creditor account # representing
                                  1316 5Th Avenue                           a payment of 0.19 % per court
                                  Fort Worth, Texas 76104                   order.



                                                                                   Page Subtotals:                                                              $0.00           $3,207.18
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                   Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   11/28/22           2023        B & R Tools & Service, Inc.               Final distribution to claim 15                        7100-000                                          $34.80          $11,625.26
                                  Co The James Firm, Pllc                   creditor account # representing
                                  1316 5Th Avenue                           a payment of 0.19 % per court
                                  Fort Worth, Texas 76104                   order.
   11/28/22           2024        Longhorn Machine Shop & Automation,       Final distribution to claim 16                        7100-000                                          $27.73          $11,597.53
                                  Llc                                       creditor account # representing
                                  Co The James Firm, Pllc                   a payment of 0.19 % per court
                                  1316 5Th Avenue                           order.
                                  Fort Worth, Texas 76104
   11/28/22           2025        Valence Drilling Fluids, Lp               Final distribution to claim 17                        7100-000                                         $152.90          $11,444.63
                                  Eric Delaney                              creditor account # representing
                                  2575 Kelley Pointe Pkwy                   a payment of 0.19 % per court
                                  101 N. Robinson 13Th Floor                order.
                                  Edmond, Ok 73013-7310
   11/28/22           2026        American Momentum Bank                    Final distribution to claim 18                        7100-000                                         $848.16          $10,596.47
                                  F-K-A Security Bank                       creditor account # representing
                                  600 N. Marienfeld, Ste 200                a payment of 0.19 % per court
                                  Midland, Texas 79701                      order.
   11/28/22           2027        Energy Fishing & Rental Services, Inc.    Final distribution to claim 19                        7100-000                                      $1,236.14             $9,360.33
                                  Co Snow & Green Holly C. Hamm             creditor account # representing
                                  P.O. Box 549                              a payment of 0.19 % per court
                                  Hockley, Tx 77447                         order.
   11/28/22           2028        Taurex Drill Bits, Llc                    Final distribution to claim 20                        7100-000                                          $72.73            $9,287.60
                                  Co Snow & Green Llp Holly C Hamm          creditor account # representing
                                  P.O. Box 549                              a payment of 0.19 % per court
                                  Hockley, Tx 77447                         order.
   11/28/22           2029        Wildcat Oil Tools Llc                     Final distribution to claim 21                        7100-000                                      $1,157.90             $8,129.70
                                  706 N Colorado                            creditor account # representing
                                  Attn: Rick Strange                        a payment of 0.19 % per court
                                  Midland, Tx 79701                         order.
   11/28/22           2030        Professional Mainland Safety,             Final distribution to claim 23                        7100-000                                          $32.81            $8,096.89
                                  Po Box 53211                              creditor account # representing
                                  Lubbock, Tx 79453                         a payment of 0.19 % per court
                                                                            order.
   11/28/22           2031        Trans Tex Cementing Services, Llc         Final distribution to claim 24                        7100-000                                          $74.45            $8,022.44
                                  Morgan Leeton, Pc                         creditor account # representing
                                  400 W. Illinois, Suite 120                a payment of 0.19 % per court
                                  Midland, Tx 79701                         order.



                                                                                   Page Subtotals:                                                              $0.00           $3,637.62
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                   Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   11/28/22           2032        Rwls, Llc Dba Renegade Services           Final distribution to claim 25                        7100-000                                          $68.85            $7,953.59
                                  516 Ave H                                 creditor account # representing
                                  Levelland, Tx 79336                       a payment of 0.19 % per court
                                                                            order.
   11/28/22           2033        S&S Fishing And Rental Inc                Final distribution to claim 26                        7100-000                                           $6.30            $7,947.29
                                  Po Box 478                                creditor account # representing
                                  Andrews, Tx. 79714                        a payment of 0.19 % per court
                                  ,                                         order.
   11/28/22           2034        Greak Law, P.C.                           Final distribution to claim 29                        7100-000                                          $43.34            $7,903.95
                                  C/O Michael S. Uryasz                     creditor account # representing
                                  8008 Slide Road, Suite 30                 a payment of 0.19 % per court
                                  Lubbock, Tx 79424                         order.
   11/28/22           2035        Capitan Corporation                       Final distribution to claim 30                        7100-000                                         $143.18            $7,760.77
                                  Po Box 60018                              creditor account # representing
                                  Midland, Tx 79711                         a payment of 0.19 % per court
                                                                            order.
   11/28/22           2036        Kuda Kutrite, Inc.                        Final distribution to claim 31                        7100-000                                           $7.20            $7,753.57
                                  P O Box 747                               creditor account # representing
                                  Andrews, Tx 79714                         a payment of 0.19 % per court
                                                                            order.
   11/28/22           2037        Hoppes Construction, Llc                  Final distribution to claim 32                        7100-000                                         $341.13            $7,412.44
                                  P.O. Box 654                              creditor account # representing
                                  Ada, Ok 74820                             a payment of 0.19 % per court
                                                                            order.
   11/28/22           2038        Core Tech Wireline Services Llc           Final distribution to claim 33                        7100-000                                          $79.44            $7,333.00
                                  3433 N Sam Houston Pkwy W, Ste 400        creditor account # representing
                                  Cypress, TX 77086                         a payment of 0.19 % per court
                                                                            order.
   11/28/22           2039        Lone Star Rental                          Final distribution to claim 34                        7100-000                                          $62.31            $7,270.69
                                  830 E Broadway                            creditor account # representing
                                  Andrews, Texas 79717                      a payment of 0.19 % per court
                                                                            order.
   11/28/22           2040        Premium Oilfield Services, Llc            Final distribution to claim 36                        7100-000                                         $256.00            $7,014.69
                                  4819 Hwy 90 West                          creditor account # representing
                                  New Iberia, La 70560                      a payment of 0.19 % per court
                                                                            order.




                                                                                   Page Subtotals:                                                              $0.00           $1,007.75
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                   Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   11/28/22           2041        Corrosion Ltd.                            Final distribution to claim 39                        7100-000                                          $24.29            $6,990.40
                                  4321 S County Rd 1290                     creditor account # representing
                                  Odessa, Tx 79765                          a payment of 0.19 % per court
                                                                            order.
   11/28/22           2042        Vaughn Energy Services, Inc.              Final distribution to claim 40                        7100-000                                         $270.59            $6,719.81
                                  C/O Bradley H. Rice, Decker Jones, Pc     creditor account # representing
                                  801 Cherry Street, Unit #46               a payment of 0.19 % per court
                                  Burnett Plaza, Suite 2000                 order.
                                  Fort Worth, Tx 76244
   11/28/22           2043        Carr Energy, Llc                          Final distribution to claim 41                        7100-000                                         $101.10            $6,618.71
                                  Po Box 202                                creditor account # representing
                                  Snyder, Texas 79550                       a payment of 0.19 % per court
                                                                            order.
   11/28/22           2044        Osborn & Bennett Llp                      Final distribution to claim 42                        7100-000                                          $27.21            $6,591.50
                                  515 Congress Avenue, Suite 2450           creditor account # representing
                                  Austin, Tx 78701                          a payment of 0.19 % per court
                                                                            order.
   11/28/22           2045        Copper Ridge Resources, Llc               Final distribution to claim 43                        7100-000                                         $110.86            $6,480.64
                                  Alissa A. Adkins                          creditor account # representing
                                  Mcdonald & Adkins, Llp                    a payment of 0.19 % per court
                                  321 Texan Trail, Ste. 225                 order.
                                  Corpus Christi, Tx 78411-1874
   11/28/22           2046        Mesa Well Servicing, Lp                   Final distribution to claim 44                        7100-000                                      $1,474.22             $5,006.42
                                  17171 Park Row                            creditor account # representing
                                  Suite 160                                 a payment of 0.19 % per court
                                  Houston, Tx 77084                         order.
   11/28/22           2047        Gyrodata Incorporated                     Final distribution to claim 45                        7100-000                                          $81.34            $4,925.08
                                  C/O Dore Rothberg Mckay, P.C.             creditor account # representing
                                  17171 Park Row, Suite 160                 a payment of 0.19 % per court
                                  Houston, Tx 77084                         order.
   11/28/22           2048        Harrison Lease Acquisition &              Final distribution to claim 46                        7100-000                                         $451.61            $4,473.47
                                  Development Corp.                         creditor account # representing
                                  878 S Denton Tap Rd Ste 100               a payment of 0.19 % per court
                                  Coppell, Tx 75019                         order.
   11/28/22           2049        Klear Bit Technologies, Llc               Final distribution to claim 47                        7100-000                                         $167.60            $4,305.87
                                  C/O Dore Rothberg Mckay, P.C.             creditor account # representing
                                  17171 Park Row, Suite 160                 a payment of 0.19 % per court
                                  Houston, Tx 77084                         order.



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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                   Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   11/28/22           2050        Stingray Cementing & Acidizing            Final distribution to claim 49                        7100-000                                          $23.93            $4,281.94
                                  14201 Caliber Dr., Ste 100                creditor account # representing
                                  Oklahoma City, 73134                      a payment of 0.19 % per court
                                                                            order.
   11/28/22           2051        Mustang Construction                      Final distribution to claim 50                        7100-000                                          $46.39            $4,235.55
                                  1503 Sw Mustang Dr.,                      creditor account # representing
                                  Andrews, Texas 79714                      a payment of 0.19 % per court
                                                                            order.
   11/28/22           2052        Triple S Trucking Co., Inc.               Final distribution to claim 51                        7100-000                                         $173.94            $4,061.61
                                  C/O Chris Ochoa                           creditor account # representing
                                  P.O. Box 100                              a payment of 0.19 % per court
                                  Aztec, Nm 87410                           order.
   11/28/22           2053        Aztec Well Servicing Co.                  Final distribution to claim 52                        7100-000                                      $1,632.56             $2,429.05
                                  C/O Chris Ochoa                           creditor account # representing
                                  P.O. Box 100                              a payment of 0.19 % per court
                                  Aztec, Nm 87410                           order.
   11/28/22           2054        Aztec Well Servicing Co.                  Final distribution to claim 53                        7100-000                                      $1,422.35             $1,006.70
                                  C/O Chris Ochoa                           creditor account # representing
                                  P.O. Box 100                              a payment of 0.19 % per court
                                  Aztec, Nm 87410                           order.
   11/28/22           2055        Platinum Pipe Rentals, Llc                Final distribution to claim 54                        7100-000                                         $798.40               $208.30
                                  3800 E. 42Nd Street                       creditor account # representing
                                  Suite 500                                 a payment of 0.19 % per court
                                  Odessa, Tx 79762                          order.
   11/28/22           2056        Ready Drill, Llc                          Final distribution to claim 55                        7100-000                                          $17.89               $190.41
                                  3800 E. 42Nd Street                       creditor account # representing
                                  Suite 500                                 a payment of 0.19 % per court
                                  Odessa, Tx 79762                          order.
   11/28/22           2057        Chocks, Inc.                              Final distribution to claim 56                        7100-000                                         $178.17                $12.24
                                  Po Box 907                                creditor account # representing
                                  Andrews, Texas 79714                      a payment of 0.19 % per court
                                                                            order.
   11/28/22                       Clerk, US Bankruptcy Court                Remit To Court - Dividends                                                                              $12.24                 $0.00
                                                                            Under $5.00
                                                                            3.76 Axl Energy #3
                                                                            3.45 Warrior Technologies #27
                                                                            2.42 Dirt Road Outlaws #28
                                                                            2.61 Ipfs Corporation #35



                                                                                   Page Subtotals:                                                              $0.00           $4,305.87
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                     Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                        Code                                                              ($)
                                  Axl Energy, Inc.                                                                     ($3.76)    7100-000

                                  Warrior Technologies                                                                 ($3.45)    7100-000

                                  Dirt Road Outlaws                                                                    ($2.42)    7100-000

                                  Ipfs Corporation                                                                     ($2.61)    7100-000

   12/05/22           2017        Ebj Trucking, Inc.                        Final distribution to claim 10                        7100-000                                         ($132.33)               $132.33
                                  Co Michael Uryasz                         creditor account # representing
                                  8008 Slide Road, Suite 30                 a payment of 0.19 % per court
                                  Lubbock, Texas 79424                      order. Reversal
                                                                            *STOPPED payment due to
                                                                            creditor getting two of the same
                                                                            checks. Only one of claim #10
                                                                            is valid for payment. Error on
                                                                            our end in system. We will have
                                                                            to amend TFR and disburse the
                                                                            funds.
   12/06/22           2031        Trans Tex Cementing Services, Llc         Final distribution to claim 24                        7100-000                                          ($74.45)               $206.78
                                  Morgan Leeton, Pc                         creditor account # representing
                                  400 W. Illinois, Suite 120                a payment of 0.19 % per court
                                  Midland, Tx 79701                         order. Reversal
                                                                            *STOPPED payment due to
                                                                            creditor having two of the same
                                                                            checks - claim 24 has to be WD
                                                                            or Objected. Only claim #6 is
                                                                            valid for payment. We will have
                                                                            to amend TFR and disburse the
                                                                            funds.
   05/18/23           2058        Clerk, U.S. Bankruptcy Court              Remit to Court                                                                                           $46.90                $159.88

                                  National Fuel And Lubricants, Inc.        Final distribution for Trustee's           ($4.21)    7100-001
                                                                            Amended Report to claim 1
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.




                                                                                   Page Subtotals:                                                              $0.00              ($159.88)
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                   Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
                                  Stealth Oilwell Services, Llc             Final distribution for Trustee's           ($0.10)    7100-001
                                                                            Amended Report to claim 2
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Axl Energy, Inc.                          Final distribution for Trustee's           ($0.05)    7100-001
                                                                            Amended Report to claim 3
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Horizon Mud Co., Inc.                     Final distribution for Trustee's           ($2.71)    7100-001
                                                                            Amended Report to claim 4
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Frac Tank Rentals, Llc                    Final distribution for Trustee's           ($0.77)    7100-001
                                                                            Amended Report to claim 5
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Transtex Cementing Services, Llc          Final distribution for Trustee's           ($0.96)    7100-001
                                                                            Amended Report to claim 6
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Rig Power                                 Final distribution for Trustee's           ($0.22)    7100-001
                                                                            Amended Report to claim 9
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Ebj Trucking, Inc.                        Final distribution for Trustee's           ($1.71)    7100-001
                                                                            Amended Report to claim 10
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Rig Power, Inc.                           Final distribution for Trustee's           ($1.31)    7100-001
                                                                            Amended Report to claim 11
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.

                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                             Trustee Name: Marilyn D. Garner, Trustee                                   Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                                Bank Name: Axos Bank
                                                                                                                   Account Number/CD#: XXXXXX5442
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX8977                                                                               Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
                                  Universal Pressure Pumping, Inc.           Final distribution for Trustee's           ($0.54)    7100-001
                                                                             Amended Report to claim 12
                                                                             creditor account # representing
                                                                             a payment of 0.00 % per court
                                                                             order.
                                  Acquire Oilfield Solutions, Llc            Final distribution for Trustee's           ($1.23)    7100-001
                                                                             Amended Report to claim 14
                                                                             creditor account # representing
                                                                             a payment of 0.00 % per court
                                                                             order.
                                  B & R Tools & Service, Inc.                Final distribution for Trustee's           ($0.45)    7100-001
                                                                             Amended Report to claim 15
                                                                             creditor account # representing
                                                                             a payment of 0.00 % per court
                                                                             order.
                                  Longhorn Machine Shop & Automation,        Final distribution for Trustee's           ($0.36)    7100-001
                                  Llc                                        Amended Report to claim 16
                                                                             creditor account # representing
                                                                             a payment of 0.00 % per court
                                                                             order.
                                  Valence Drilling Fluids, Lp                Final distribution for Trustee's           ($1.98)    7100-001
                                                                             Amended Report to claim 17
                                                                             creditor account # representing
                                                                             a payment of 0.00 % per court
                                                                             order.
                                  Taurex Drill Bits, Llc                     Final distribution for Trustee's           ($0.94)    7100-001
                                                                             Amended Report to claim 20
                                                                             creditor account # representing
                                                                             a payment of 0.00 % per court
                                                                             order.
                                  Professional Mainland Safety,              Final distribution for Trustee's           ($0.42)    7100-001
                                                                             Amended Report to claim 23
                                                                             creditor account # representing
                                                                             a payment of 0.00 % per court
                                                                             order.
                                  Rwls, Llc Dba Renegade Services            Final distribution for Trustee's           ($0.89)    7100-001
                                                                             Amended Report to claim 25
                                                                             creditor account # representing
                                                                             a payment of 0.00 % per court
                                                                             order.

                                                                                    Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                   Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
                                  S&S Fishing And Rental Inc                Final distribution for Trustee's           ($0.08)    7100-001
                                                                            Amended Report to claim 26
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Warrior Technologies                      Final distribution for Trustee's           ($0.04)    7100-001
                                                                            Amended Report to claim 27
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Dirt Road Outlaws                         Final distribution for Trustee's           ($0.03)    7100-001
                                                                            Amended Report to claim 28
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Greak Law, P.C.                           Final distribution for Trustee's           ($0.56)    7100-001
                                                                            Amended Report to claim 29
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Capitan Corporation                       Final distribution for Trustee's           ($1.85)    7100-001
                                                                            Amended Report to claim 30
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Kuda Kutrite, Inc.                        Final distribution for Trustee's           ($0.09)    7100-001
                                                                            Amended Report to claim 31
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Hoppes Construction, Llc                  Final distribution for Trustee's           ($4.41)    7100-001
                                                                            Amended Report to claim 32
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Core Tech Wireline Services Llc           Final distribution for Trustee's           ($1.03)    7100-001
                                                                            Amended Report to claim 33
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.

                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                   Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
                                  Lone Star Rental                          Final distribution for Trustee's           ($0.80)    7100-001
                                                                            Amended Report to claim 34
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Ipfs Corporation                          Final distribution for Trustee's           ($0.03)    7100-001
                                                                            Amended Report to claim 35
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Premium Oilfield Services, Llc            Final distribution for Trustee's           ($3.31)    7100-001
                                                                            Amended Report to claim 36
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Corrosion Ltd.                            Final distribution for Trustee's           ($0.32)    7100-001
                                                                            Amended Report to claim 39
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Vaughn Energy Services, Inc.              Final distribution for Trustee's           ($3.50)    7100-001
                                                                            Amended Report to claim 40
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Carr Energy, Llc                          Final distribution for Trustee's           ($1.31)    7100-001
                                                                            Amended Report to claim 41
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Osborn & Bennett Llp                      Final distribution for Trustee's           ($0.35)    7100-001
                                                                            Amended Report to claim 42
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Copper Ridge Resources, Llc               Final distribution for Trustee's           ($1.44)    7100-001
                                                                            Amended Report to claim 43
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.

                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                   Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
                                  Gyrodata Incorporated                     Final distribution for Trustee's           ($1.05)    7100-001
                                                                            Amended Report to claim 45
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Klear Bit Technologies, Llc               Final distribution for Trustee's           ($2.16)    7100-001
                                                                            Amended Report to claim 47
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Stingray Cementing & Acidizing            Final distribution for Trustee's           ($0.31)    7100-001
                                                                            Amended Report to claim 49
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Mustang Construction                      Final distribution for Trustee's           ($0.60)    7100-001
                                                                            Amended Report to claim 50
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Triple S Trucking Co., Inc.               Final distribution for Trustee's           ($2.25)    7100-001
                                                                            Amended Report to claim 51
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Ready Drill, Llc                          Final distribution for Trustee's           ($0.22)    7100-001
                                                                            Amended Report to claim 55
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
                                  Chocks, Inc.                              Final distribution for Trustee's           ($2.31)    7100-001
                                                                            Amended Report to claim 56
                                                                            creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
   05/18/23           2059        Wellbore Fishing & Rental                 Final distribution for Trustee's                      7100-000                                           $8.59               $151.29
                                  9868 East Main Street                     Amended Report to claim 7
                                  Houma, La 70363                           creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.

                                                                                   Page Subtotals:                                                              $0.00                $8.59
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                            Trustee Name: Marilyn D. Garner, Trustee                                   Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   05/18/23           2060        4G Well Service                           Final distribution for Trustee's                      7100-000                                           $5.31               $145.98
                                  4926 North Breanna Street                 Amended Report to claim 8
                                  Hobbs, Nm 88242                           creditor account # representing
                                                                            a payment of 0.00 % per court
                                                                            order.
   05/18/23           2061        Ms Directional, Llc                       Final distribution for Trustee's                      7100-000                                          $29.41               $116.57
                                  Co William R. Sudela                      Amended Report to claim 13
                                  Crady Jewett Mcculley & Houren Llp        creditor account # representing
                                  2727 Allen Parkway, Suite 1700            a payment of 0.00 % per court
                                  Houston, Texas 77019-2125                 order.
   05/18/23           2062        American Momentum Bank                    Final distribution for Trustee's                      7100-000                                          $10.96               $105.61
                                  F-K-A Security Bank                       Amended Report to claim 18
                                  600 N. Marienfeld, Ste 200                creditor account # representing
                                  Midland, Texas 79701                      a payment of 0.00 % per court
                                                                            order.
   05/18/23           2063        Energy Fishing & Rental Services, Inc.    Final distribution for Trustee's                      7100-000                                          $15.98                $89.63
                                  Co Snow & Green Holly C. Hamm             Amended Report to claim 19
                                  P.O. Box 549                              creditor account # representing
                                  Hockley, Tx 77447                         a payment of 0.00 % per court
                                                                            order.
   05/18/23           2064        Wildcat Oil Tools Llc                     Final distribution for Trustee's                      7100-000                                          $14.96                $74.67
                                  706 N Colorado                            Amended Report to claim 21
                                  Attn: Rick Strange                        creditor account # representing
                                  Midland, Tx 79701                         a payment of 0.00 % per court
                                                                            order.
   05/18/23           2065        Mesa Well Servicing, Lp                   Final distribution for Trustee's                      7100-000                                          $19.05                $55.62
                                  17171 Park Row                            Amended Report to claim 44
                                  Suite 160                                 creditor account # representing
                                  Houston, Tx 77084                         a payment of 0.00 % per court
                                                                            order.
   05/18/23           2066        Harrison Lease Acquisition &              Final distribution for Trustee's                      7100-000                                           $5.84                $49.78
                                  Development Corp.                         Amended Report to claim 46
                                  878 S Denton Tap Rd Ste 100               creditor account # representing
                                  Coppell, Tx 75019                         a payment of 0.00 % per court
                                                                            order.
   05/18/23           2067        Aztec Well Servicing Co.                  Final distribution for Trustee's                      7100-000                                          $21.10                $28.68
                                  C/O Chris Ochoa                           Amended Report to claim 52
                                  P.O. Box 100                              creditor account # representing
                                  Aztec, Nm 87410                           a payment of 0.00 % per court
                                                                            order.

                                                                                   Page Subtotals:                                                              $0.00              $122.61
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 20-42766                                                                                                Trustee Name: Marilyn D. Garner, Trustee                               Exhibit 9
      Case Name: Copper Ridge Resources, Llc                                                                                  Bank Name: Axos Bank
                                                                                                                     Account Number/CD#: XXXXXX5442
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8977                                                                              Blanket Bond (per case limit): $300,000.00
For Period Ending: 11/15/2023                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction                Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
   05/18/23           2068        Aztec Well Servicing Co.                  Final distribution for Trustee's                         7100-000                                       $18.38                $10.30
                                  C/O Chris Ochoa                           Amended Report to claim 53
                                  P.O. Box 100                              creditor account # representing
                                  Aztec, Nm 87410                           a payment of 0.00 % per court
                                                                            order.
   05/18/23           2069        Platinum Pipe Rentals, Llc                Final distribution for Trustee's                         7100-000                                       $10.30                 $0.00
                                  3800 E. 42Nd Street                       Amended Report to claim 54
                                  Suite 500                                 creditor account # representing
                                  Odessa, Tx 79762                          a payment of 0.00 % per court
                                                                            order.


                                                                                                               COLUMN TOTALS                              $82,510.43           $82,510.43
                                                                                                                     Less: Bank Transfers/CD's                  $0.00                $0.00
                                                                                                               Subtotal                                   $82,510.43           $82,510.43
                                                                                                                     Less: Payments to Debtors                  $0.00                $0.00
                                                                                                               Net                                        $82,510.43           $82,510.43




                                                                                   Page Subtotals:                                                              $0.00               $28.68
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                                                                                                                                                           Page:     19
                           Case 20-42766-mxm7          Doc 112 Filed 01/04/24 Entered 01/04/24 15:14:50                  Desc Main
                                                             Document    Page 41 of 41
                                                                                                                                                            Exhibit 9
                                                                                      TOTAL OF ALL ACCOUNTS
                                                                                                                                        NET            ACCOUNT
                                                                                                    NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                            XXXXXX5442 - Checking                                        $82,510.43               $82,510.43                $0.00
                                                                                                         $82,510.43               $82,510.43                $0.00

                                                                                                   (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                           transfers)            to debtors)
                                            Total Allocation Receipts:                    $0.00
                                            Total Net Deposits:                       $82,510.43
                                            Total Gross Receipts:                     $82,510.43




                                                                    Page Subtotals:                                       $0.00                $0.00
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